              Case 2:20-cv-00761-RAJ Document 11 Filed 10/20/20 Page 1 of 2




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                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10
      MATTHEW JOHN HARRISON,
11
                                 Plaintiff,          CASE NO. C20-0761-RAJ-MAT
12

13           v.
                                                     ORDER DISMISSING ACTION
14    ADAM FORTNEY, et al.,

15                               Defendants.

16
            The Court, having reviewed plaintiff’s civil rights complaint, the Report and
17
     Recommendation of Mary Alice Theiler, United States Magistrate Judge, and the
18

19   remaining record, does hereby find and ORDER:

20          (1)    The Court adopts the Report and Recommendation;

21          (2)    Plaintiff’s complaint, and this action, are DISMISSED without prejudice for

22   failure to prosecute; and
23          (3)    The Clerk is directed to send copies of this Order to plaintiff and to the

     ORDER DISMISSING ACTION
     PAGE - 1
             Case 2:20-cv-00761-RAJ Document 11 Filed 10/20/20 Page 2 of 2




 1   Honorable Mary Alice Theiler.

 2         DATED this 20th day of October, 2020.

 3

 4                                                 A
 5                                                 The Honorable Richard A. Jones
                                                   United States District Judge
 6                                                       _____________________

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     ORDER DISMISSING ACTION
     PAGE - 2
